Case 3:16-md-02738-MAS-RLS Document 27045-2 Filed 08/28/23 Page 1 of 4 PageID:
                                 163568




                          EXHIBIT B
Case 3:16-md-02738-MAS-RLS Document 27045-2 Filed 08/28/23 Page 2 of 4 PageID:
                                 163569




                      UNITED STATES DISTRICT COURT FOR THE
                         FOR THE DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON                      MDL No. 3: l6-md-2738-MAS-LHG
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY                        JUDGE MICHAEL A. SHIPP
  LITIGATION                                    MAG. ruDGE LOIS H. GOODMAN



  THIS DOCUMENT RELATES TO                      Civil Case No. 3 :20-cv-03797-MAS-LHG

  DIAI\A LYI\N LIPTON v. JOHNSON &
  JOHNSON, etal.



   DECLARATION OF'EVE,I,YN WILLNER AS CO.SIICCESSOR.IN .INTERE.ST
    PURSUANT TO CALIFORNIA CODE OF CIVIL PROCEDUITE SECTION
                                           377.32

  I, EVELYN WILLNER, declare as follows:

     1. The decedent in this matter is Diana Lynn Lipton. She was my sister.

     2. Diana Lynn Lipton died of ovarian cancer on December 8,2022, in Santa Rosa,
        California.

     3. A true and correct copy of the death certificate, with social security number
        redacted, is attached as Exhibit A to the instant Motion to Substitute

        Parfy-Plaintiff.

     4. "No proceeding is now pending in California for administration of the decedent's
        estate."
Case 3:16-md-02738-MAS-RLS Document 27045-2 Filed 08/28/23 Page 3 of 4 PageID:
                                 163570




     5. I am one of the decedent's successors-in-interest (as defined by section 371.11 of
        the California Code of Civil Procedure) and a co-successor, along with my

        siblings Heidi Moxon Morishita, Linda Moxon, and Bennett Moxon, to the

        decedent's interest in this action.

     6. No other person has a superior right to commence the action or proceeding or to
        be substituted for the decedent in the pending action or proceeding.



        I declare under penalty of perjury under the laws of the State of California that the

        foregoing is true and correct and that this declaration was executed in

                                              California on the date specified below




  Dated: August 24 ,2023
                                                  Evelyn Willner
  Case 3:16-md-02738-MAS-RLS Document 27045-2 Filed 08/28/23 Page 4 of 4 PageID:
                                   163571


 CCP 377 .32 Declaration of Evelyn Willner
 FinalAudit Report                                                              2023-08-24


   Created:                2023-0&24

   By:                     Walter Walker (ess@whk-lant.com)

   Status:                 Signed

   Transaction lD:         CBJCHBCMBAAFOLWjduWTlsax$mQkT0zAlbNm3tRg-Q




 "CCP 377.32 Declaration of Evelyn Willner" History
 t3 Document created by Walter Walker (jess@whk-law.com)
     2023-08-24 - 7:56:26 PM GMT


 Llr Document emailed to evie@willnernation.com for signature
     2023-08-24 - 7:57'.14 PM GMT


 f-li emall viewed by evie@willnernation.com
     2023-08-24 - 8'.2521 PM GMT


 lf,s Signer evie@willnernation.com entered name at signing as Evelyn willner
     2023-08-24 - 8:26:55 PM GMT


 fs Document e-signed by Evelyn willner (evie@willnernation.com)
     Signature Date: 2023-08-24 - 8:26:57 PM GMT - Time Source: server


 O Agreement completed.
     2023-08-24 - 8:26:57 PM GMT




S naoUe Acrobat Sign
